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                                       UNITED STATES DISTRICT COURT
 8                                    WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                              Plaintiff,
11                                                                CASE NO. CR02-423C
              v.
12                                                                ORDER
      KEITH E. ANDERSON, et al.,
13
                              Defendants.
14

15
            This matter comes before the Court on Defendants James and Pamela Moran’s Joint Motion
16
     Requesting Permission to Travel Outside the District of Colorado (Dkt. No. 1172). The Court has
17
     carefully considered the papers submitted by the parties and hereby GRANTS Defendants’ motion.
18
     Defendants may travel from their home in Colorado to San Diego, California from August 17, 2005 to
19
     August 25, 2005. The Court directs Defendants to maintain daily contact with their Pretrial Services
20
     Officer(s) during this period.
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     //
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     //
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     //
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     //
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26   ORDER – 1
         Case 2:02-cr-00423-JCC    Document 1179    Filed 07/29/05   Page 2 of 2



 1        SO ORDERED this 29th day of July, 2005.




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 4                                              UNITED STATES DISTRICT JUDGE

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26   ORDER – 2
